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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


IN THE MATTER OF THE APPLICATION OF
THE ASSOCIATED PRESS; CABLE NEWS
NETWORK, INC.; THE NEW YORK TIMES CO.;
POLITICO LLC; AND WP CO., LLC, d/b/a THE      Case No.
WASHINGTON POST FOR ACCESS TO
CERTAIN SEALED WARRANT MATERIALS




MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR
     PUBLIC ACCESS TO CERTAIN SEALED WARRANT MATERIALS




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                                PRELIMINARY STATEMENT

       The prosecution of a sitting president’s personal attorney for a string of felonies including

lying to Congress and violating campaign finance laws by paying hush money to the president’s

alleged mistress is undeniably one in which the public’s interest in receiving information is

paramount. Through this action, The Associated Press (“AP”), Cable News Network, Inc.

(“CNN”), The New York Times Company (“The Times”), POLITICO LLC (“Politico”) and the

WP Co., LLC, d/b/a/ the Washington Post (the “Post”) (collectively, the “Media Coalition”) seek

to unseal court records concerning the prosecution of Michael D. Cohen (“Cohen”) to provide

more information to the American public about this important matter.

       Specifically, the Media Coalition seeks to vindicate the public’s First Amendment and

common-law rights of access to the warrants, applications, supporting affidavits, and returns

relating to all search, seizure or Stored Communications Act warrants relevant to the Cohen

prosecution (the “Warrant Materials”). The U.S. District Court for the Southern District of New

York has released redacted versions of such materials related to warrants involving Cohen

executed in that district. See United States v. Cohen, --- F.Supp.3d ---, 2019 WL 472577, at *1

(S.D.N.Y. Feb. 7, 2019).

       The Warrant Materials should be released because they are records to which the public

has qualified rights of access under both the First Amendment and the common law. The First

Amendment access right can be overcome only by a showing that secrecy is necessary to protect

a compelling interest and any sealing is narrowly tailored to serve that interest. To be sure, there

are significant interests that arguably may be at stake, such as protecting the integrity of any

ongoing investigations, the identities of confidential informants and the privacy of potentially

innocent people. Those interests, however, are insufficient to overcome the overwhelming

public interest in these materials and can in any event be served by narrowly tailored redactions


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to the documents. Under the common law, courts balance the public’s right to information about

the workings of the criminal justice system against the legitimate countervailing interests of the

government. In this case, that balance tips decisively in favor of the public. This Court,

therefore, should order the Warrant Materials to be released, subject only to those precisely

targeted redactions necessary to protect greater interests.

                                         BACKGROUND

   I.      The Prosecution of Michael Cohen

        The details of the Cohen prosecution are well known, so the Media Coalition will limit its

discussion to the most salient facts. On April 9, 2018, the FBI performed searches of the

residence, hotel room, office, safe deposit box, mobile phones and electronic communications of

Cohen, who had been President Donald Trump’s personal attorney for more than a decade.

Cohen, 2019 WL 472577, at *1; see also, e.g., Matt Apuzzo, F.B.I. Raids Office of Trump’s

Longtime Lawyer Michael Cohen; Trump Calls It ‘Disgraceful’, N.Y. TIMES (Apr. 9, 2018),

https://www.nytimes.com/2018/04/09/us/politics/fbi-raids-office-of-trumps-longtime-lawyer-

michael-cohen.html; Eli Watkins, FBI raids Trump lawyer Michael Cohen’s office, seizes Stormy

Daniels documents, bank records, CNN (Apr. 9, 2018),

https://www.cnn.com/2018/04/09/politics/michael-cohen-fbi/index.html.

        Months later, Cohen pleaded guilty to five counts of tax evasion, one count of making

false statements to financial institutions and two counts of campaign finance violations based on

his payment of $130,000 on Trump’s behalf to buy the silence of an adult film actress who says

she had an affair with Trump. Cohen, 2019 WL 472577, at *1; see also, e.g., Erica Orden et al.,

Michael Cohen implicates Trump in hush money scheme, CNN (Aug. 22, 2018),

https://www.cnn.com/2018/08/21/politics/michael-cohen-plea-deal-talks/index.html. In a

separate case brought by the Office of Special Counsel Robert Mueller, Cohen later pleaded


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guilty to making false statements to Congress in violation of 18 U.S.C. 1001(a)(2) for lying

about the Trump Organization’s efforts during the 2016 campaign to strike a deal to build a

Trump Tower in Moscow. See generally Information, United States v. Cohen, No. 18-CR-850

(S.D.N.Y. Nov. 29, 2018), https://www.justice.gov/file/1115596/download. He was sentenced to

three years in prison and ordered to forfeit $500,000 and pay nearly $1.4 million in restitution.

See Laura Nahmias & Darren Samuelsohn, Michael Cohen sentenced to 3 years in prison,

POLITICO (Dec. 12, 2018), https://www.politico.com/story/2018/12/12/cohen-sentenced-to-3-

years-in-prison-1060060.

   II.       The Records Sought By The Media Coalition

         After Cohen’s guilty pleas, several news organizations (including three members of this

Media Coalition) asked the U.S. District Court for the Southern District of New York to unseal

copies of the warrants, warrant applications and supporting affidavits in the cases against Cohen

(which had been consolidated for sentencing). Cohen, 2019 WL 472577, at *1. The court

granted the request in part and ordered those warrant materials released with redactions to shield

the identities of law enforcement agents and some unindicted persons and to protect ongoing

investigations. Id. at 6-8, 14.

         The materials released in the Southern District of New York (the “S.D.N.Y. Materials”)

made reference to several warrants approved in this District by Chief Judge Beryl Howell that

were sought by the Special Counsel’s Office as part of its probe of Russia’s attempts to influence

the 2016 elections (the “Russia Investigation”). The warrants referenced in the S.D.N.Y.

Materials are:

                No. 17-mj-00503, issued on July 17, 2017, for emails in a gmail account
                 associated with Cohen that were sent or received between January 1, 2016 and
                 July 18, 2017;




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              No. 17-mj-00570, issued on August 8, 2017, for content stored in an iCloud
               account associated with Cohen;

              No. 17-mj-00855, issued on November 13, 2017, for emails in the Cohen gmail
               account sent or received between June 1, 2015 and November 13, 2017; and

              No. 17-mj-00854, issued on November 13, 2017, for emails in another Cohen
               email account sent or received between the opening of the account and November
               13, 2017.

In this action, the Media Coalition seeks records associated with the application for, issuance of,

and returns regarding each of these four warrants, as well as the same materials for any other

warrants issued in this District related to the Cohen prosecution that remain publicly unknown.

For those Warrant Materials produced to Cohen in discovery, the Media Coalition respectfully

requests access to those materials in the form produced to Cohen.

                                          ARGUMENT

       The public has a presumptive, albeit qualified right of access to search warrant materials

that is particularly urgent in this case given the importance of the Cohen prosecution to our

democracy. This qualified right, which arises under both the First Amendment and the common

law, requires the release – with redactions, where necessary – of the Warrant Materials.

I.     THE PUBLIC’S FIRST AMENDMENT AND COMMON LAW RIGHTS OF
       ACCESS ATTACH TO THE WARRANT MATERIALS AND CANNOT BE
       OVERCOME HERE

       Warrants, including the applications, affidavits and returns in connection therewith, are

presumptively public both under the law and as a matter of standard practice in this and other

federal courts. See, e.g., In re Application of WP Co. (In Re WP II), 201 F. Supp. 3d 109, 121

(D.D.C. 2016) (“warrant applications and receipts are routinely filed with the clerk of court

without seal” (quoting In re Application of N.Y. Times Co. (In Re NYT), 585 F. Supp. 2d 83, 88

(D.D.C. 2008))); United States v. Bus. of Custer Battlefield Museum & Store (Custer Battlefield),

658 F.3d 1188, 1193-94 (9th Cir. 2011) (same); Fed. R. Crim. P. 41(i) (“The magistrate judge to


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whom the warrant is returned must attach to the warrant a copy of the return, of the inventory,

and of all other related papers and must deliver them to the clerk in the district where the

property was seized.”). In this Court “the routine practice is to make warrant materials publicly

available after a search has been executed and a return is available.” In re NYT, 585 F. Supp. 2d

at 88 n.8.

        Federal courts considering the question routinely have held that the public has a qualified

right of access to warrant materials, though there has been some inconsistency in the courts’

conclusions regarding the stage of the proceedings at which that right attaches and whether it

arises under the First Amendment, the common law, or both. See, e.g., In re Application of WP

Co. (In re WP I), No. 16-mc-351 (BAH), 2016 WL 1604976, at *2 (D.D.C. Apr. 1, 2016)

(recognizing First Amendment right of access to search warrant records issued during

investigation that had been closed); In re NYT, 585 F. Supp. 2d at 87-88 (recognizing both First

Amendment and common-law right of access to warrant materials after conclusion of

investigation); In re Search Warrants Issued on May 21, 1987, No. 87-186 (JHG), 1990 WL

113874, at *6 (D.D.C. July 26, 1990) (recognizing common-law right of access to search warrant

materials after indictment); United States v. Sealed Search Warrants, 868 F.3d 385, 390 (5th Cir.

2017) (common-law right of access can apply to pre-indictment warrant materials; trial court

must determine whether to unseal on case-by-case basis); Custer Battlefield, 658 F.3d at 1193-94

(recognizing common-law right of access to warrant materials after completion of criminal

investigation); In re Search Warrant for Secretarial Area Outside Office of Gunn, 855 F.2d 569,

573-74 (8th Cir. 1988) (recognizing First Amendment right of access to search warrant materials

in ongoing criminal investigation). The D.C. Circuit has not directly ruled on the precise

questions of (1) whether the right of public access to warrant materials attaches upon the




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warrant’s execution and return to the issuing court or (2) whether that access right instead

attaches only once the subject or target of the warrant has been indicted or pleaded guilty. Under

the analysis set forth by the D.C. Circuit and applied by other courts in this district, however, the

First Amendment and common-law public access rights to warrant materials both attach upon

return, not at some later point in the prosecution. And even if it were the case that these rights of

access attached only after the target of a warrant has been convicted or pleaded guilty, in this

case Cohen has pleaded guilty and been sentenced.

       A.      The First Amendment Provides A Right Of Access To Warrant Materials

       It is well settled that “[t]he First Amendment guarantees a qualified right of public access

to criminal proceedings and related court documents.” In re WP II, 201 F. Supp. 3d at 117

(citing Globe Newspaper Co. v. Super. Ct., 457 U.S. 596, 603-04 (1982)). This right of access

arises where the court answers two questions affirmatively: “(1) whether the place and process

have historically been open to the press and general public, and (2) whether ‘public access plays

a significant positive role in the functioning of the particular process in question.’” In re NYT,

585 F. Supp. 2d at 87 (citing Press-Enter. Co. v. Super. Ct. (Press-Enterprise II), 478 U.S. 1, 8-9

(1986)). Applying this “experience and logic” test, courts in this district have recognized that a

First Amendment right of public access applies to warrant materials at the latest after an

investigation has concluded. In re WP I, 2016 WL 1604976, at *2; In re NYT, 585 F. Supp. 2d at

88.1 Here, experience and logic compel the conclusion that the First Amendment provides a

right of access to the warrant materials the Media Coalition seeks regardless of whether the

overall investigation or investigations formally can be deemed “concluded.”


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  The court in In re NYT held that there was no ongoing investigation although the government
argued that it had not “formally closed” the “Amerithrax” probe: The court noted that the
government believed the 2001 anthrax attacks were the work of one person, acting alone, and
that person had committed suicide. 585 F. Supp. 2d at 88 n.7.


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       First, as discussed supra, warrant materials have long been presumptively public, usually

upon the return of the executed warrant, both in the District of Columbia and other federal

courts. In re WP II, 201 F. Supp. 3d at 121; In re NYT, 585 F. Supp. 2d at 88 (noting that

warrant materials have been publicly available as matter of “routine historical practice”). And,

as Judge Lamberth recognized in In re NYT, the fact that there is a common-law right of access

to warrant materials also meets the “experience” prong of the test. 585 F. Supp. 2d at 89

(“Therefore, the fact that there is a common law tradition of access to warrant materials—which

is acknowledged by the government in this case—weighs strongly in favor of a First Amendment

qualified right of access to warrant materials.”); see also infra Section I.B. Experience,

therefore, counsels that warrant materials should be presumptively available to the public upon

the warrant’s execution and return to the magistrate, and in any event no later than the point

where an indictment has been issued or a guilty plea entered.

       Second, courts also have recognized several strong public policies that are served by

public access to warrant materials and that accordingly satisfy the “logic” prong of the test. As

the Fifth Circuit recently observed, “the right of access promotes the trustworthiness of the

judicial process, curbs judicial abuses, and provides the public with a better understanding of the

judicial process, including its fairness.” Sealed Search Warrants, 868 F.3d at 395; see also In re

NYT, 585 F. Supp. 2d at 90 (“The fact that proceedings are open demonstrates to the public that

judicial processes are fair and that there is nothing to hide.”). This openness “‘gives assurance

that established procedures are being followed and that deviations will become known’ and

corrected.” Id. (citation omitted). Especially given the criticism by the President and his

supporters of the Russia Investigation and prosecutions arising from it, as well as the searches

related to Cohen, these public policy considerations firmly support the First Amendment right of




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access to these materials now that Cohen has pleaded guilty and the Special Counsel has

concluded his work.

       B.      The Common-Law Right Of Access Also Applies To Warrant Materials

       The Supreme Court has recognized that, under the common law, the public has a

qualified right “to inspect and copy public records and documents, including judicial records and

documents.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978) (footnotes omitted).

This common-law right is “broader, but weaker” than the First Amendment access right. In re

WP II, 201 F. Supp. 3d at 118 (citation omitted). Courts in the D.C. Circuit have consistently

held that warrant materials are “judicial records” subject to this common-law right of access

because they are “central to a court’s probable cause determination.” Id. at 129 (quoting Custer

Battlefield, 658 F.3d at 1193); see also In re NYT, 585 F. Supp. 2d at 87 n.2 (noting that

government had conceded that warrant materials are subject to common-law right of access).

       C.      No Compelling Interest Justifies The Continued Blanket Sealing Of The
               Warrant Materials

       To overcome the public’s First Amendment right of access, a party opposing disclosure

must demonstrate that keeping the records secret serves a compelling governmental interest and

is narrowly tailored to serve that interest. Globe Newspaper, 457 U.S. at 606-07; In re NYT, 585

F. Supp. 2d at 91. The Supreme Court has directed that “[t]he interest is to be articulated along

with findings specific enough that a reviewing court can determine whether the closure order was

properly entered.” Press-Enter. Co. v. Super. Ct. (Press-Enterprise I), 464 U.S. 501, 510 (1984).

       It is likely that the government can articulate one or more compelling interests at stake

here, as it did in the Southern District of New York. See Cohen, 2019 WL 472577, at *5-8. But

the continued categorical sealing of all of the Warrant Materials cannot properly be said to be

narrowly tailored to serve any such interest, which can instead be served by targeted redactions.



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Because of the First Amendment rights involved and the pressing public interest in the Cohen

prosecution, the government (or any other party seeking secrecy) should be required to show

(1) what specific compelling interest is served by the sealing or redaction of each specific

document and (2) why sealing, rather than redaction or other mitigation, is the most narrowly

tailored means to serve that interest. The Media Coalition respectfully submits that neither the

government nor any other party will be able to justify blanket sealing of the Warrant Materials at

issue here.

        Perhaps the most obvious compelling interest the government might be expected to cite is

the need to protect the integrity of an ongoing investigation, as it did in the Southern District of

New York. See Cohen, 2019 WL 472577, at *1. There, the court noted that the Government’s

submissions show that the investigation regarding Cohen’s tax evasion and false statements to

financial institutions “appears to have concluded.” Id. at *6. The court said that the

Government’s ex parte filings indicated that the campaign finance investigation was continuing,

id. at *5-6 & n.2, though the ruling unsealing the S.D.N.Y. Materials did not involve any

materials exclusive to the separate false statement charge arising from the Russia Investigation,

id. at 1 & n.1.

        Concerns about the integrity of ongoing investigations are mitigated in this instance

because the hush-money probe and the Russia Investigation are no secret – and the Special

Counsel’s investigation has concluded. The Media Coalition does not seek in any way to

jeopardize or impede the campaign finance investigation or any related probes. But “not every

release of information contained in an ongoing criminal investigation file will necessarily affect

the integrity of the investigation.” Virginia Dep’t of State Police v. Wash. Post, 386 F.3d 567,

579 (4th Cir. 2004) (government must provide “specific underlying reasons for the district court




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to understand how the integrity of the investigation reasonably could be affected by the release

of such information” to justify sealing judicial records).

       Releasing the warrant materials already provided to Cohen, for example, would be

unlikely to jeopardize an ongoing investigation because they have been provided to a prominent

target of that investigation who has been cooperating with the government for many months.

Surely anyone who could possibly be implicated in any criminal activity by Cohen or the

contents of the materials seized has known about that possibility since the raid on Cohen’s

premises last April. Likewise, unsealing warrant materials directly related to other defendants

who have been indicted or pleaded guilty would be unlikely to interfere with the investigation of

those individuals. Further, the release of information that already has been widely publicized by

the news media cannot threaten an ongoing criminal investigation. Wash. Post v. Robinson, 935

F.2d 282, 291-92 (D.C. Cir. 1991) (government did not meet its burden to justify sealing plea

agreement to protect ongoing investigation when plea already had been reported by news media).

To the extent the Warrant Materials contain specific pieces of information that the government

can show would compromise a specific aspect of any ongoing investigation if publicly disclosed

at this time, those specific pieces of information can and should be redacted to allow for the

maximum possible public access to the rest of these judicial records.

       Other interests that the government might assert are at stake include the need to guard the

secrecy of grand jury proceedings and shield the identities of confidential informants. The

Media Coalition does not object to redactions or withholdings that are narrowly tailored to serve

these interests, such as removing the names of and identifying information regarding confidential

informants whose identifies, in fact, currently remain confidential.

       Privacy considerations may in some limited circumstances qualify as a compelling




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interest, but it bears emphasis that “privacy and reputational concerns typically don’t provide

sufficient reason to overcome a qualified First Amendment right of access.” United States v.

Loughner, 769 F. Supp. 2d 1188, 1196 (D. Ariz. 2011); see also Cohen, 2019 WL 472577, at

*6-8. One situation in which privacy interests did rise to this level was presented in In re WP II,

in which the court denied the Post’s request to unseal warrant information related to an ancillary

investigation involving the “sexual preferences and partners” of a cooperating witness in the

investigation of campaign finance violations in the District. 201 F. Supp. 3d at 126-27.

However, there is no indication here that any of the Warrant Materials related to Cohen or the

broader Russia Investigation involve such highly intimate details that are not directly relevant to

the core of the investigations – and, again, any such concerns could be adequately satisfied by

redactions rather than indiscriminate sealing. Likewise, the privacy interests of potentially

innocent third parties can be protected in the same way via targeted and specific redactions, as

the Southern District of New York ordered. Cohen, 2019 WL 472577, at *7-8 (ordering

redaction of identifying information regarding uncharged individuals who may be stigmatized by

their association with criminal case); see also In re WP I, 2016 WL 1604976, at *2.

       However, the nature of the Cohen case is such that many, if not most, of those potentially

identified in the Warrant Materials are people who either already have been publicly identified

(or identified themselves) in connection with the investigations or have a diminished privacy

interest because they voluntarily sought public office and/or positions in the maelstrom of a hotly

contested presidential campaign. See In re NYT, 585 F. Supp. 2d at 93 n.14 (“injury to official

reputation is an insufficient reason for repressing speech that would otherwise be free” (quoting

In re McClatchy Newspapers, Inc., 288 F.3d 369, 374 (9th Cir. 2002))). For example, federal

prosecutors involved in convicting a sitting U.S. Senator on corruption charges that were later




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vacated because of prosecutorial misconduct did not have a privacy interest in sealing a report

about their misdeeds. In re Special Proceedings, 842 F. Supp. 2d 232, 246 (D.D.C. 2012)

(noting that “the identity of the subjects was known from the outset of the investigation, the

matters under investigation were largely known to the public from the outset and arose from the

subject attorneys’ conduct during the proceedings in a highly-publicized criminal trial”).

Further, there is no compelling interest in protecting the “privacy” of facts that are already

public. Robinson, 935 F.2d at 291-92; Virginia State Police, 386 F.3d at 579; Loughner, 769 F.

Supp. 2d at 1196.

       In sum, insofar as the public record reveals, there is no apparent interest at stake

sufficiently compelling to justify the continued wholesale sealing of the Warrant Materials, and

any compelling interests that conceivably may be implicated could be served by narrowly

tailored redactions.

       D.      The Public’s Interest In Disclosure Outweighs Any Need For Secrecy Of The
               Warrant Materials

       In determining whether the strong common-law presumption in favor of public access

requires unsealing of a particular judicial record, a court must “balance the government’s interest

in keeping the document secret against the public’s interest in disclosure.” In re WP II, 201 F.

Supp. 3d at 118 (citation omitted). Courts considering whether to order disclosure pursuant to

the common-law right must weigh factors the D.C. Circuit first articulated in United States v.

Hubbard, 650 F.2d 293, 317-22 (D.C. Cir. 1980):

               (1) the need for public access to the documents at issue; (2) the extent
               of previous public access to the documents; (3) the fact that someone
               has objected to disclosure, and the identity of that person; (4) the
               strength of any property and privacy interests asserted; (5) the
               possibility of prejudice to those opposing disclosure; and (6) the
               purposes for which the documents were introduced during the judicial
               proceedings.



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Metlife, Inc. v. Fin. Stability Oversight Council, 865 F.3d 661, 665 (D.C. Cir. 2017); accord In re

NYT, 585 F. Supp. 2d at 92; WP II, 201 F. Supp. 3d at 118. Here, an analysis of the five relevant

Hubbard factors2 leads to the conclusion that the Warrant Materials also should be released

pursuant to the common-law access right.

       The first and second factors weigh heavily – and conclusively – against continued

secrecy. It is beyond debate that the public interest in access to the Warrant Materials could not

be higher. See, e.g., Monitor Patriot Co. v. Roy, 401 U.S. 265, 272 (1971) (“[I]t can hardly be

doubted that the constitutional guarantee [of free speech] has its fullest and most urgent

application precisely to the conduct of campaigns for political office.”). The Cohen prosecution

goes to the heart of the integrity of the political process and the ability of the justice system to

fairly and effectively investigate and, where necessary, prosecute potential crimes by those in

positions of power. See Citizens for Responsibility & Ethics in Wash. v. U.S. Dep’t of Justice,

746 F.3d 1082, 1092-93 (D.C. Cir. 2014) (recognizing “weighty public interest in shining a light

on the FBI’s investigation of major political corruption” and importance of materials that “shed

light on how the FBI and the DOJ handle the investigation and prosecution of crimes that

undermine the very foundation of our government”). The gravity and importance of the Cohen

prosecution is among the highest in our nation’s history, and therefore the public’s interest in the

transparency of that investigation is paramount to all but the most crucial constitutional

considerations.

       The third and fourth factors – any objections to unsealing, the identity of the objectors,

and the strength of the objections – remain to be determined, but it is difficult to conceive of



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 As Judge Lamberth explained, the sixth Hubbard factor was unique to that case, “in which a
private party sought to prevent disclosure of documents recovered during a search.” In re NYT,
585 F. Supp. 2d at 92 n.13.


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circumstances that would be sufficient to overcome the public interest in release of the Warrant

Materials. As discussed supra, many of the individuals most directly implicated by the Warrant

Materials either have already been indicted or pleaded guilty, are beyond this Court’s

jurisdictional reach, or are among the most powerful and public political figures of our time.

Consequently, any legitimate objections they may raise could adequately be addressed by

targeted redactions. Finally, the risk of prejudice to the investigations or the prosecutions, while

not unimportant, pales in comparison to the public interest in disclosure and also may be

appropriately mitigated with any necessary redactions.

         The public’s common-law right to access the Warrant Materials, therefore, far outweighs

any countervailing considerations, and the blanket sealing of them should not continue.

   II.      THE COURT SHOULD NOT ALLOW INDEFINITE SEALING PREMISED
            ON THE EXISTENCE OF AN ONGOING INVESTIGATION

         Finally, if the Court should determine that some of the Warrant Materials may remain

sealed to protect the privacy of one or more individuals or the integrity of one or more ongoing

investigations, the public should be allowed access to those materials once the justification for

sealing expires, either when the shielded individuals’ identities become known and/or the

currently ongoing investigations are complete. The criminal investigations involved in this

matter will not continue indefinitely; as the Second Circuit observed, “the government’s interest

in its ongoing investigation does not ongo [sic] forever.” United States v. Moten, 582 F.2d 654,

661 (2d Cir. 1978); see also Phoenix Newspapers, Inc. v. U.S. Dist. Ct., 156 F.3d 940, 947 (9th

Cir. 1998) (“transcripts of public trial proceedings must be released when the factors militating

in favor of closure no longer exist”).

         To avoid ongoing relitigation of public access to these Warrant Materials, therefore, the

Media Coalition respectfully requests that, if any portions of the Warrant Materials are to remain



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sealed, this Court retain jurisdiction to ensure that the records are made public promptly and

automatically after the justification for their sealing expires. The Media Coalition requests that

this Court set a “sunlight date” for any remaining sealed portions of the Warrant Materials three

months from the date of its order in this action, at which time the records would be automatically

unsealed by the Clerk absent a showing by the Government or another interested party that

continued sealing is justified. Because openness, not secrecy, is the default condition for judicial

records, such a sunlight provision would place the onus for continued sealing where it belongs:

on the Government or other party who must persuade the Court that these public records must

continue to be kept from public view. Other courts – including the Southern District of New

York in this instance – have imposed similar requirements. Cohen, 2019 WL 472577, at *14

(ordering the Government to submit status report by May 15, 2019, explaining any need for

continued redactions); see also, e.g., Loughner, 769 F. Supp. 2d at 1197 (stating that “redacted

information will be unsealed as soon as it becomes appropriate”); United States v. Strevell, No.

05-CR-477(GLS), 2009 WL 577910, at *7 (N.D.N.Y. Mar. 4, 2009) (setting a one-year sunshine

date upon which sealing would expire “absent a timely motion to renew from the government” or

defendant); In re Searches of Semtex Indus. Corp., 876 F. Supp. 426, 429 (E.D.N.Y. 1995)

(ordering that warrant materials be unsealed if no indictment issued in case within three months

subject to government’s opportunity to explain in camera why continued sealing was necessary).




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                                         CONCLUSION

       For all of the foregoing reasons, the Media Coalition respectfully requests that this Court

grant its motion and enter an order unsealing the Warrant Materials, and further that, if the Court

determines that any portion of the Warrant Materials may remain sealed, the Court enter an order

setting a sunlight date three months from the date of its order.



Respectfully submitted,

 Dated: March 26, 2019                       BALLARD SPAHR LLP



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